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                   OFFICE OF THE DISTRICT ATTORNEY
                             Indio, California

                             MEMORANDUM
                                        July 22, 2011


 TO:            Sean Lafferty, Assistant District Attorney
                Otis Sterling, Supervising Deputy District Attorney

 FROM:          Lisa DiMaria
                Senior Deputy District Attorney

 SUBJECT:       Roger Parker, INF10000647

                             PURPOSE OF THIS MEETING

         Defendant is set for preliminary hearing next Thursday, 7/28/11. This defendant
 is charged with murder. As I expressed at the initial staffing in March, 2010, I have
 serious concerns about his guilt (if we have the right person). Since the staffing, I have
 received the results from all of Department of Justice's analysis of the physical evidence
 which has reinforced my concern for the actual guilt of the defendant.

         The purpose of this meeting is to apprise you of my concerns with the evidence in
 the case and to discuss how to proceed from here (my recommendation is to probably
 proceed with preliminary hearing, and should nothing of significance change, recommend
 a "no file").

                                 FACTS OF THE CASE

        Willie Womack (approx 50 yrs old) rented a house in DHS. He took in Roger
 Parker (20 yrs old) as a roommate. They resided together as roommates.
        The victim, "Tennessee" (Brandon Stevenson) was homeless. He would hang out
 around the house. Willie would socialize with Victim and allow him to hang out in the
 garage but not usually in the house. Roger was not friends with Victim; he just knew him
 through Willie and because he'd hang out. Roger also had nothing against Victim.

          On March 18, 2010, the 'victim was across the street from their house in his
 broken down truck. The Victim and Willie talked a bit. Victim said he was waiting for
 his girlfriend. Willie left for his girlfriend's house around 5:00 pm. Victim was outside
 in this truck. Roger was taking a nap.
          Just after 11 :00 pm, Willie returned home. The front door appeared to be opened.
 He entered through the garage door. He noticed his TV (which he was VERY proud of)
 on the floor next to the front door. Victim was laying on the couch in the entrance-way.



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 Willie grabbed the TV and yelled at Victim, "Tennesse, you left the door open and
 someone tried to steal my TV!" Willie took the TV back to his room and came out to
 wake up Victim. He grabbed Victim's hands and shook him and his head fell back
 exposing that his neck had was sliced completely open (clear to the spine). Willie
 doesn't have a phone so he went to the neighbors and called 911.
         While the police were at the house and the crime scene tape was up, "Robert" saw
 the activity and knew Roger was at a friend's house ("Alex") down the street. Robert
 went to tell Roger who immediately ran back to the house.
         Roger and Willie voluntarily went to DHSPD for interviews.

         ** In addition to having his throat slit clear across to his spine, the victim also
 sustained a blow( s) to the head fracturing his skull and leaving brain matter spattered on
 the back of the couch. Both wounds (neck and head) were individually fatal.

                                ROGER'S INTERVIEWS

 * I should preface this with the fact that the police were convinced that the killer was
 either Willie or Roger since they live there. After speaking with Willie and being
 convinced it wasn't him, they were confident it was Roger.

          He was initially interviewed at 4:15 a.m., 8:00 a.m., and 12:40 p.m. He'd been at
 the station since about 1 in the morning.
          During the interviews, Roger adamantly denied knowing anything. He said he'd
 left the house at 5:00 p.m. Willie and Tennessee both were not there. He only returned
 back after Robert came and got him. He was cooperative - he signed a consent to search
 form, he agreed to take a lie detector, give his fingerprints, give blood, give a DNA swab,
 give them anything they wanted. After the 1st interview, he went with the police to his
 friend Alex's house and gave the police the pants he had worn to Alex's house.
          During the interviews, the police told Roger about nearly ALL of the evidence.
 They even went so far as showing him photos of the knife found in the bedroom and the
 smear of blood where the knife was wiped. They told him who the victim was, how he
 was killed, the injuries, where he was located, the knives that were found, where they
 were found, where blood was found.
          Additionally, as they were trying very diligently to get him to confess, they
 continually told him that he has the right to defend himself if someone broke into his
 house, that self defense is legal.
          Here's a little excerpt as an example:
 Cop- "Ifhe broke into that house, and you were scared, there's a penal code section that
 says that's not a crime."


 Cop- "I think you're a good person and Tennessee bastard kept fucking with you. He
 kept taking your stuff and you probably had it up to here."

 ~ - "No, there you go again. You're saying taking. No, he never took any of my stuff, he
 always asked."



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 !').. -   "Oh my God, how can you change all my words"

 Cop- "Listen ... there must've been some reason for you to do what you did"

          After several hours of this, Roger said, "I told you the truth the whole time. I'm
 tryin' to think of a reason now. I'm tryin' to think of a lie I could tell you." After this, he
 finally, very sarcastically, said that it was self defense, that since they said he hit him in
 the head with a pan, he hit him in the head with a pan. Since they said he sliced his
 throat, he sliced his throat, since they said ... etc. So the police considered this a
 confession.
          After an hour of Roger being in a jail cell, he asked to speak to the detective. It
 was now 4:00 p.m. (he'd been at the station since 1:00 a.m.). Roger now, calmly, told
 them it was self defense because he was asleep and woke up and heard noises. He gave
 this story that contained VERY LITTLE DETAIL (and he wasn't asked for any further
 detail) and the detective was very leading in his questions.

         I was concerned that the "confession" was given so Roger could get out of jail
 because they had told him self-defense was legal and denial only landed him in jail. So I
 asked them to have him do a re-enactment.
         During the re-enactment, again Roger gives very little detail and he is not asked to
 further explain. What he does explain makes absolutely no sense with the physical
 evidence (e.g. the piece of the pot). He also needed to leave the area with he saw the
 blood because he started to dry heave and was going to be sick.


                               ADDITIONAL INFORMATION

        At the time of the staffing, all my concerns that this was a false confession were
 voiced. However, the determination was that we had a very dead body and a confession
 - how could we not file? So it was determined to file charges and wait until the
 fingerprint off the knife came back and any other physical evidence.
        Also, it was decided that the detective should go reinterview Roger. He did and
 Roger said he made the whole thing up because they kept pressuring him to say
 something. He was able to tell him what he did because of what they told him and
 because he could see where the blood was at the reenactment. He said the fingerprints
 won't be his and when the evidence comes out, they'll have to drop the charges.

                                PHYSICAL EVIDENCE
        The fingerprint on the knife did NOT match Roger. DNA: Roger is
 ELIMINATED as a donor of DNA on the white sweatshirt that had Victim's blood;
 Victim is ELIMINATED as a donor of blood on Roger's shorts (it was Roger's and a
 female's); Roger is ELIMINATED as a DNA donor on the swabs from the knife with
 Victim's blood.




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